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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

JAY HELLER, individually and
on behalf of all others similarly situated,          Case No. : 21-3583

       Plaintiff,

v.                                                   CLASS ACTION COMPLAINT

HARRIS & HARRIS, LTD., and
DOES 1-10,                                           JURY DEMANDED

       Defendants.


       Now comes the Plaintiff, JAY HELLER (“Plaintiff”), individually and on behalf of all

others similarly situated, by and through his attorneys, and for his Class Action Complaint against

the Defendants, HARRIS & HARRIS, LTD. (“Harris”) and DOES 1-10, inclusive, and each of

them, Plaintiff alleges and states as follows:

                                 PRELIMINARY STATEMENT

       1.      This is an action for damages, injunctive relief, and any other available legal or

 equitable remedies, for violations of the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C.

 § 1692, et seq., which prohibits debt collectors from engaging in harassing, oppressive, abusive,

 deceptive, unfair, and unconscionable practices in connection with the collection of debts.

 Plaintiff alleges as follows upon personal knowledge as to himself and his own acts and

 experiences, and, as to all other matters, upon information and belief, including investigation

 conducted by his attorneys.

       2.      The FDCPA was enacted to “eliminate abusive debt collection practices by debt

 collectors,” due to “abundant evidence of the use of abusive, deceptive, and unfair debt collection

 practices by many debt collectors.” 15 U.S.C. § 1692.
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                                 JURISDICTION AND VENUE

        3.      This Court has jurisdiction pursuant to 28 U.S.C. § 1331, as this civil action arises

under a law of the United States, the FDCPA.

        4.      This Court also has jurisdiction pursuant to the FDCPA, 15 U.S.C. § 1692k(d).

        5.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events giving rise to this claim occurred in this District and Defendant Harris

resides in this District.

                                             PARTIES

        6.      Plaintiff is an individual who was at all relevant times residing in the City of

Northbrook, County of Cook, and State of Illinois.

        7.      On information and belief, Defendant Harris is a corporation of the State of Illinois,

which has its principal place of business in Chicago, Illinois.

        8.      On information and belief, at all times relevant hereto, Harris was engaged in the

business of the collection of debts.

        9.      Plaintiff is a “consumer,” as defined by 15 U.S.C. § 1692a(3) as he is a natural

person allegedly obligated to pay a debt.

        10.     At all relevant times, Harris acted as a “debt collector” within the meaning of 15

U.S.C. § 1692a(6), in that it uses any instrumentality of interstate commerce or the mails in a

business the principal purpose of which is the collection of debts, and/or it regularly collects or

attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or due another.

        11.     The aforementioned alleged debt is a “debt” within the meaning of 15 U.S.C. §

1692a(5), in that, on information and belief, it is an alleged obligation of a consumer, the Plaintiff

herein, to pay money arising out of a transaction in which the money, property, insurance, and/or



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services which are the subject of the transaction were primarily for personal, family, and/or

household purposes.

       12.     The true names and capacities of the Defendants sued herein as DOES 1-10 are

currently unknown to Plaintiff, who therefore sues such Defendants by fictitious names. Each of

the Defendants designated herein as a Doe is legally responsible for the unlawful acts alleged

herein. Plaintiff will seek leave of Court to amend the Complaint to reflect the true names and

capacities of the Doe Defendants when such identities become known.

       13.     Plaintiff is informed and believes that at all relevant times, each and every

Defendant was acting as an agent and/or employee of each of the other Defendants and was acting

within the course and scope of said agency and/or employment with the full knowledge and

consent of each of the other Defendants. Plaintiff is informed and believes that each of the acts

and/or omissions complained of herein was made known to, and ratified by, each of the other

Defendants.

                            FACTS COMMON TO ALL COUNTS

       14.     On or about August 11, 2020, Harris sent a letter to Plaintiff seeking to collect a

debt Plaintiff allegedly owed to NorthShore University HealthSystem. A copy of said letter is

attached hereto as Exhibit A, with Plaintiff’s account numbers and home address redacted.

       15.     Said letter contained at least four instances of amounts Harris was seeking to collect

from Plaintiff which were obviously duplicative in that the amounts, dates of service, and account

numbers were the same for each duplicative entry in the letter. The letter sought payment of

identical, duplicative amounts as follows:

               a.     $201.28 for a date of service of March 16, 2019;

               b.     $776.19 for a date of service of April 6, 2019;



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               c.      $125.40 for a date of service of April 6, 2019; and

               d.      $194.58 for a date of service of September 19, 2019.

       16.     After receiving said letter, in August of 2020, Plaintiff placed a first telephone call

to Harris to discuss the alleged debt Harris was attempting to collect from him. The representative

of Harris with whom Plaintiff spoke insisted that Plaintiff owed all of the amounts listed in Harris’s

August 11, 2020 letter and demanded payment of those amounts, despite Plaintiff’s explanation

regarding the duplicative entries described above.

       17.     Subsequently, also in August of 2020, Plaintiff placed a second telephone call to

Harris to discuss the alleged debt Harris was attempting to collect from him. Plaintiff again

explained the issue with the duplicative entries described above to the representative of Harris with

whom Plaintiff spoke during this second call. That representative admitted to Plaintiff that the total

amount Harris sought to collect from Plaintiff, as indicated in the letter, was incorrect.

       18.     As a result of Defendants’ acts and omissions outlined above, Plaintiff has suffered

concrete and particularized injuries and harm, which include, but are not limited to, wasting

Plaintiff’s time, aggravation, inconvenience, frustration, emotional distress, and similar categories

of damages.

       19.     In its attempts to collect the alleged debt as outlined above, Defendants sought to

collect an alleged debt from Plaintiff in an obviously incorrect amount and violated the FDCPA.

       20.     At all times pertinent hereto, Harris was acting by and through its agents, servants,

and/or employees, who were acting within the course and scope of their agency or employment,

and under the direct supervision and control of Harris.




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                                        CLASS ALLEGATIONS

       21.      Plaintiff brings this action on behalf of himself and all others similarly situated, as

a member of the proposed class:

                All persons within the United States who were sent debt collection
                letters from Defendants within one year prior to the filing of this
                lawsuit, which contained incorrect and/or duplicative balance
                entries or amounts which Defendants were attempting to collect.

       22.      Plaintiff represents, and is a member of, the Class, consisting of all persons in the

United States who were sent debt collection letters from Defendants within one year prior to the

filing of this lawsuit, which contained incorrect duplicative balance entries or amounts Defendants

were attempting to collect.

       23.      Defendants, their employees and agents are excluded from the Class. Plaintiff does

not know the number of members in the Class, but believes the Class members number in the

hundreds, if not more. Thus, this matter should be certified as a class action to assist in the

expeditious litigation of the matter.

       24.      The Class is so numerous that the individual joinder of all of its members is

impractical. While the exact number and identities of the Class members are unknown to Plaintiff

at this time and can only be ascertained through appropriate discovery, Plaintiff is informed and

believes and thereon alleges that the Class include hundreds, if not thousands of members. Plaintiff

alleges that the Class members may be ascertained by the records maintained by Defendants.

       25.      This suit is properly maintainable as a class action pursuant to Fed. R. Civ. P. 23(a)

because the Class is so numerous that joinder of the Class members is impractical and the

disposition of their claims in a class action will provide substantial benefits both to the parties and

to the Court.




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        26.     There are questions of law and fact common to the Class affecting the parties to be

represented. The questions of law and fact common to the Class predominate over questions which

may affect individual Class members and include, but are not necessarily limited to, the following:

                a.      Whether the Class members were sent debt collection letters from

                        Defendants which contained incorrect and/or duplicative balance entries or

                        amounts which Defendants were attempting to collect;

                b.      Whether the Class members suffered damages as a result of Defendants’

                        conduct, and the proper amount of such damages; and

                c.      Whether Defendants violated the FDCPA, 15 U.S.C. § 1692, et seq.

        27.     As a resident of the United States who was sent a debt collection letter from

Defendants which contained incorrect and/or duplicative balance entries or amounts which

Defendants were attempting to collect, within one year prior to the filing of this lawsuit, Plaintiff

is asserting claims that are typical of the Class.

        28.     Plaintiff has no interests adverse or antagonistic to the interests of the other

members of the Class.

        29.     Plaintiff will fairly and adequately protect the interests of the members of the Class.

Plaintiff has retained attorneys experienced in the prosecution of class actions.

        30.     A class action is superior to other available methods of fair and efficient

adjudication of this controversy, since individual litigation of the claims of all class members is

impracticable. Even if every class member could afford individual litigation, the court system

could not. It would be unduly burdensome to the courts in which individual litigation of numerous

issues would proceed. Individualized litigation would also present the potential for varying,

inconsistent or contradictory judgments and would magnify the delay and expense to all parties,



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and to the court system, resulting from multiple trials of the same complex factual issues. By

contrast, the conduct of this action as a class action presents fewer management difficulties,

conserves the resources of the parties and of the court system and protects the rights of each class

member. Class treatment will also permit the adjudication of relatively small claims by many class

members who could not otherwise afford to seek legal redress for the wrongs complained of herein.

       31.     The prosecution of separate actions by individual class members would create a

risk of adjudications with respect to them that would, as a practical matter, be dispositive of the

interests of the other class members not parties to such adjudications or that would substantially

impair or impede the ability of such non-party class members to protect their interests.

       32.     Defendants have acted or refused to act in respect generally applicable to the Class,

thereby making appropriate final and injunctive relief with regard to the members of the Class as

a whole.

       33.     The FDCPA, 15 U.S.C. § 1692e, states:

               A debt collector may not use any false, deceptive, or misleading
               representation or means in connection with the collection of any
               debt. Without limiting the general application of the foregoing, the
               following conduct is a violation of this section:
               …
               (2) The false representation of--
                       (A) the character, amount, or legal status of any debt;
               …
               (10) The use of any false representation or deceptive means to
               collect or attempt to collect any debt or to obtain information
               concerning a consumer.

       34.     The FDCPA, 15 U.S.C. § 1692f, states:

               A debt collector may not use unfair or unconscionable means to
               collect or attempt to collect any debt. Without limiting the general
               application of the foregoing, the following conduct is a violation of
               this section:




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               (1) The collection of any amount (including any interest, fee, charge,
               or expense incidental to the principal obligation) unless such amount
               is expressly authorized by the agreement creating the debt or
               permitted by law.

       35.     By sending debt collection letters which contained incorrect and/or duplicative

balance entries or amounts which Defendants were attempting to collect, Defendants used false,

deceptive, or misleading representations or means in connection with the collection of a debt in

violation of the FDCPA, 15 U.S.C. § 1692e.

       36.     By sending debt collection letters which contained incorrect and/or duplicative

balance entries or amounts which Defendants were attempting to collect, Defendants falsely

represented the character and amount of a debt, in violation of the FDCPA, 15 U.S.C. §

1692e(2)(A).

       37.     By sending debt collection letters which contained incorrect and/or duplicative

balance entries or amounts which Defendants were attempting to collect, Defendants used false

representations or deceptive means to collect or attempt to collect a debt or to obtain information

concerning a consumer, in violation of the FDCPA, 15 U.S.C. § 1692e(10).

       38.     In multiple instances, by sending debt collection letters which contained incorrect

and/or duplicative balance entries or amounts which Defendants were attempting to collect,

Defendants engaged in , in violation of the FDCPA, 15 U.S.C. § 1692f.

       39.     In multiple instances, by sending debt collection letters which contained incorrect

and/or duplicative balance entries or amounts which Defendants were attempting to collect,

Defendants engaged in the collection of amounts which were not expressly authorized by the

agreements creating the debts or permitted by law, in violation of the FDCPA, 15 U.S.C. §

1692f(1).




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       40.     The size and definition of the Class can be identified through Defendants’ records

or Defendants’ agents’ records.

                                COUNT I
         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

       41.     Plaintiff incorporates all of the allegations and statements made in paragraphs 1

through 40 above as if reiterated herein.

       42.     As a direct proximate result of Defendants’ conduct, and their violations of the

FDCPA as set forth above, Plaintiff and the Class have suffered actual damages and other harm,

thereby entitling them to recover such damages in addition to such additional amount as the Court

may allow, plus reasonably incurred attorneys’ fees and costs of this action, pursuant to 15 U.S.C.

§ 1692k(a).

                                       PRAYER FOR RELIEF

       Wherefore, Plaintiff prays for a judgment against Defendants as follows:

               a.      An order certifying the Class and appointing Plaintiff as Representative of

                       both classes;

               b.      An order certifying the Plaintiff’s counsel as Class Counsel for the Class;

               c.      An order requiring Defendants, at their own cost, to notify all Class

                       members of the unlawful conduct herein;

               d.      Judgment against Defendants for all actual damages suffered as a result of

                       any FDCPA violations by Defendants plus such additional amount as the

                       Court may allow, pursuant to 15 U.S.C. § 1692k(a);

               e.      An order for injunctive relief prohibiting such conduct by Defendants in the

                       future;




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               f.      Judgment against Defendants for pre-judgment interest and post-judgment

                       interest;

               g.      Judgment against Defendants for Plaintiff’s court costs and other litigation

                       costs, including reasonable attorneys’ fees pursuant to 15 U.S.C. §

                       1692k(a)(3); and

               h.      Any other relief deemed just and proper by this Court.


                                          JURY DEMAND

       Plaintiff demands a trial by jury on all issues in this action which are so triable, except for

any issues relating to the amount of attorneys’ fees and litigation costs to be awarded should

Plaintiff prevail on any of his claims in this action.



                                               RESPECTFULLY SUBMITTED,

                                               JAY HELLER

                                               By:       /s/ David B. Levin
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                                                                      EXHIBIT A
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